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                                UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF CONNECTICUT
                                      BRIDGEPORT DIVISION

------------------------------------------------------X
                                                          :
In re:                                                    : Chapter 11
                                                          :
HO WAN KWOK,1                                             : Case No. 22-50073 (JAM)
                                                          :
                      Debtor.                             :
                                                          :
                                                          :
                                                          :
                                                          :
------------------------------------------------------X

               MOTION BY BAKER & HOSTETLER LLP FOR APPROVAL
           OF PROCEDURE FOR PRODUCTION IN RESPONSE TO SUBPOENA

         Baker & Hostetler LLP (“B&H”) hereby submits this motion (“Motion”) requesting entry

of an order, substantially in the form filed herewith, approving the procedure for production set

forth herein relating to the Consent Order Regarding Control of Attorney-Client Privilege and

Work Product Protection Related to Rule 2004 Subpoenaed Documents and Information (Doc.

No. 856) (the “Privileges Consent Order”). The Debtor consents to the relief requested in this

Motion.

                                              BACKGROUND

         1.       Prior to the petition date, B&H represented the Debtor in the six lawsuits (the “Pre-

Petition Litigation”).2 The Pre-Petition Litigation was stayed by the Debtor’s filing of the above-

captioned bankruptcy case.


1
 The Debtor is known by the following names: Guo Wengui; Miles Guo; Miles Kwok; and Ho Wan Kwok.
2
 The Pre-Petition Lawsuits are: (a) Wu and Lan v. Kwok, Index No. 152123/2018 in the Supreme Court of the State
of New York, County of New York; (b) Tang and Geng v. Kwok et al., Civil Action No. 1:17-cv-09031-JFK in the
United States District Court for the Southern District of New York; (c) Fu v. Kwok et al., 7:20-cv-257-DC in the
United States District Court for the Western District of Texas (Midland/Odessa Division); (d) Huang v. Kwok, Index




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        2.         On or about August 22, 2022, the Chapter 11 Trustee (“Trustee”) served B&H with

a Rule 2004 Subpoena (Doc. No. 37, Ex. C-1) (the “Subpoena”). After the Subpoena was served,

B&H exchanged multiple emails and had telephone conferences regarding the Subpoena with the

Trustee’s counsel and the Debtor’s counsel, including regarding the parties’ respective position on

the meaning of the “personal harm” privilege retained by the Debtor under Paragraph 7 of the

September 15, 2022 Privileges Consent Order.

        3.         After conferring with the Trustee’s counsel and receiving extensions to the initial

Subpoena deadline, B&H timely served its response and objections to the Subpoena on October

10, 2022 (the “Response Deadline”)3 and is working diligently to review and produce documents

by its extended production deadline of October 21, 2022 (the “Production Deadline”), to which

the Trustee consented.

        4.         B&H is working diligently to review and produce documents to the Trustee. As of

the date of this Motion, B&H has more than fifty (50) professionals reviewing the approximately

60,000 documents that were identified as potentially responsive to the Subpoena using agreed-

upon search terms negotiated with the Trustee’s counsel. B&H anticipates that the vast majority

of responsive documents will be produced on the Production Deadline.

                             PROPOSED PRODUCTION PROCEDURE

        5.         By this Motion, B&H respectfully requests entry of an order permitting B&H to

produce documents responsive to the Subpoena to the Trustee and the Debtor in accordance with

the Privileges Consent Order under the following procedure, to which the Debtor does not object:




No. 156552/2017 in the Supreme Court of the State of New York, County of New York; (e) Meng and Boxun Inc. v.
Kwok, Index No. 159636/2017 in the Supreme Court of the State of New York, County of New York; and (f) Pacific
Alliance Asia Opportunity Fund L.P. v. Kwok et al., Index No. 652077/2017 in the Supreme Court of the State of New
York, County of New York.
3
  For the avoidance of doubt, nothing herein is intended to waive or amend B&H’s response to the Subpoena.



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                   (i)      B&H shall produce documents that B&H in good faith believes are not
                            subject to Paragraph 7 of the Privileges Consent Order (the “Non-Personal
                            Harm Documents”) to the Trustee by the Production Deadline or as soon
                            thereafter as is reasonably practicable following BH’s identification of the
                            same through the diligent efforts described herein.

                   (ii)     B&H shall act in good faith to identify documents that may be subject to
                            Paragraph 7 of the Privileges Consent Order (the “Personal Harm
                            Documents”) and provide that subset of documents to the Debtor by the
                            Production Date or as soon thereafter as is reasonably practicable following
                            BH’s identification of the same through the diligent efforts described
                            herein.

                   (iii)    As between BH and the Debtor/the Debtor’s bankruptcy counsel, the
                            Debtor’s bankruptcy counsel shall make the final determination as to
                            whether documents identified by BH are Personal Harm Documents and
                            shall promptly produce to the Trustee or withhold and identify on a privilege
                            log the Personal Harm Documents in accordance with the procedures set
                            forth in the Privileges Consent Order.

                   (iv)     Nothing herein shall prejudice any parties’ respective rights under the
                            Privileges Consent Order, all of which rights are preserved, including the
                            Debtor’s right to seek a reasonable extension of the ten (10) day period from
                            the Production Deadline by which the Debtor must provide to the Trustee a
                            privilege log identifying any Personal Harm Documents that were withheld
                            from BH’s production to the Trustee.

                   (v)      Nothing herein shall prejudice in any way the Debtor and B&H’s respective
                            rights under Federal Rules of Civil Procedures 26(b)(5)(B) to seek to claw
                            back any document produced to the Trustee and to assert privilege over any
                            such document to the extent permitted to do so in accordance with
                            paragraph 7 of the Privileges Consent Order, and Federal Rule of Civil
                            Procedure 26(b)(5)(B) shall otherwise apply in all respects to such
                            assertion.

                   (vi)     Nothing herein shall prejudice the Debtor’s and B&H’s respective rights
                            under the Protective Order entered in this case (Doc. No. 923), all of which
                            rights are preserved.




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        WHEREFORE, Baker & Hostetler LLP respectfully requests that the Court grant this

Motion and (a) enter the proposed order in substantially the form filed herewith, and (b) grant all

other relief that is appropriate under the circumstances.

        Dated: October 19, 2022

                                              Respectfully submitted,

                                              BAKER & HOSTETLER LLP

                                               By their counsel,

                                               GREEN & SKLARZ LLC

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